      Case 2:12-cr-00027-GEB Document 122 Filed 10/03/13 Page 1 of 4


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 7

 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            No.   2:12-CR-00027-GEB
12                Plaintiff,              REQUEST TO EXTEND SURRENDER
                                          DATE, RENEWED REQUEST FOR
13        v.                              RECOMMENDATION OF PARTICIPATION
                                          IN BUREAU OF PRISONS SUBSTANCE
14   RANI RACHANA SINGH-LAL,              ABUSE PROGRAM and ORDER
15                Defendant.
16

17
          1.   Request to Extend Surrender Date:
18

19        At judgment and sentencing hearing on August 2, 2013, the

20   defense advised the Court that surgery on one of defendant Rani

21   Singh-Lal’s hands (to alleviate carpal tunnel syndrome) was
22   scheduled for September 5, 2012, with an expected four-week
23
     recovery period.     Accordingly, the Court ordered a surrender
24
     date of November 1, 2013.     The defense told the Court that
25
     surgery on the other hand would follow and asked if that
26
     information could be brought to the Court to adjust the surrender
27

28   date to allow the defendant to have both necessary surgeries
                                         1
      Case 2:12-cr-00027-GEB Document 122 Filed 10/03/13 Page 2 of 4


 1   before being incarcerated.      The Court agreed
 2        On September 26, 2013 (later than initially scheduled), the
 3
     defendant underwent endoscopic surgery on her right hand.         She is
 4
     advised by her physicians, as follows: (1) a 4 to 6 week recovery
 5
     period is predicted; (3) at time of the first post operative
 6
     appointment on October 8, 2013, the second surgery (left hand)
 7

 8   will be scheduled; the approximate date of the second surgery

 9   will be on or about November 15, 2013; and the second surgery

10   will too require a 4 to 6 week recovery period.         (See Exhibit 1
11   hereto consisting of an Rx signed by James T. Lin, M.D., surgeon,
12
     and Work Status Report signed by Stephanie Hawkins, M.D., primary
13
     care.)
14
          This treatment is for work-related injuries and is covered
15

16   by an employer’s worker’s compensation insurance.         Defendant

17   Singh-Lal understands that failure to timely follow the treatment

18   plan will result in loss of coverage.
19        Accordingly, defendant Singh-Lal requests that her surrender
20
     date be extended to January 10, 2014, before 2:00 p.m., to allow
21
     sufficient time for her to undergo the second necessary surgery
22
     and recover from same.
23
          Counsel for the Government, Philip A. Ferrari, does not
24

25   object to this request.

26        2.   Renewed Request for Court Recommendation of
               Participation in Bureau of Prisons Substance Abuse
27             Treatment Program:

28        During the judgment and sentencing hearing on August 2,
                                         2
      Case 2:12-cr-00027-GEB Document 122 Filed 10/03/13 Page 3 of 4


 1   2013, the defense inadvertently failed to ask for the Court’s
 2   recommendation that the defendant participate in the Bureau of
 3
     Prisons 500-hour Substance Abuse Program.        Thereafter, on August
 4
     3, 2013, counsel for the defendant filed a formal Request
 5
     (Document No. 115) asking that the recommendation be included
 6
     within the Judgment, therein stating that, although not presently
 7

 8   using alcohol or drugs, in light of substance abuse during the

 9   period of commission of the offense, the defendant requested the

10   opportunity for the treatment program to continue her recovery
11   and avoid the dangers of substance abuse in the future.           The
12
     Presentence Investigation Report is silent concerning the
13
     Substance Abuse Treatment Program.       However, Probation Officer
14
     Shannon Morehouse stated via e mail to the undersigned that she
15

16   had reviewed the defense Request and that the program “may be

17   beneficial to the defendant for her additional support while she

18   is incarcerated.”     The Court did not formally deny the request,
19   but the recommendation was not included in the Judgment filed
20
     herein on August 7, 2013.     Accordingly, the defendant renews her
21
     request for the Court’s recommendation of the program.
22
          Counsel for the Government does not object to this request.
23

24                                           Respectfully submitted,
25

26   Dated:   October 2, 2013                       /s/ Candace A. Fry
                                             CANDACE A. FRY, Attorney for
27                                           RANI RACHANA SINGH-LAL,
                                             Defendant
28
                                         3
      Case 2:12-cr-00027-GEB Document 122 Filed 10/03/13 Page 4 of 4


 1                                   O R D E R

 2
          IT IS HEREBY ORDERED:
 3
          1.   The surrender date of November 1, 2013, stated within
 4

 5   the Judgment imposed in this matter on August 2, 2013, shall be

 6   extended as follows:

 7        The defendant, Rani Rachana Singh-Lal, shall surrender for
 8        service of sentence at the institution designated by the
 9
          Bureau of Prisons before 2:00 p.m. on January 10, 2014.      If
10
          no such institution has been designated, the defendant shall
11
          surrender to the United States Marshal for this District.
12
          2.   The Court recommends that the defendant participate in
13

14   the 500-Hour Bureau of Prisons Substance Abuse Treatment Program.

15        3.   A copy of this Order shall be appended to the

16   Presentence Investigation Report that is provided to the Bureau
17
     of Prisons or otherwise forwarded to the Bureau of Prisons by the
18
     Probation Department.
19
          4.   A copy of this order shall be served on the United
20
     States Marshal for this District.
21

22   Dated:    October 3, 2013

23

24

25

26
27

28
                                         4
